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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                   JUDGE NINA Y. WANG


Civil Action: 22-cv-01129-NYW-SBP                     Date: October 2, 2024
Courtroom Deputy: Meghan Smotts                       Court Reporter: Darlene Martinez

                Parties                               Counsel

 ERIC COOMER, Ph.D.,                                  Bradley Kloewer
                                                      Charles Cain
        Plaintiff,

 v.

 MICHAEL J. LINDELL,                                  Christopher Kachouroff
 FRANKSPEECH LLC, and
 MY PILLOW, INC.,

        Defendants.


                          COURTROOM MINUTES/MINUTE ORDER


TELEPHONIC STATUS CONFERENCE

10:03 a.m.     Court in session.

Appearances of counsel.

ORDERED: A 10-day Jury Trial is set to commence June 2, 2025 at 8:30 a.m. before Judge
         Nina Y. Wang in Courtroom A-502. Each trial day thereafter will commence
         at 9:00 a.m.

ORDERED: A Final Pretrial/Trial Preparation Conference is set for April 21, 2025 at 1:30
         p.m. before Judge Nina Y. Wang in Courtroom A-502. The Court will issue a
         Trial Preparation Order setting further deadlines.

10:13 a.m.     Court in recess.

Hearing concluded.
Total time in court:   0:10
